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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                 )
                                          )
                  v.                      )                  No. 21-cr-123 (PLF)
                                          )
VITALI GOSSJANKOWSKI,                     )
                                          )
            Defendant                     )
__________________________________________)

                       NOTICE OF PUBLIC AUTHORITY DEFENSE

       Mr. Vitali GossJankowski, through counsel, and pursuant to Federal Rule of Criminal

Procedure 12.3, hereby gives notice that he may assert as a defense at trial that he was acting

under actual or believed public authority at the time of the alleged offenses. Mr. GossJankowski

submits that, on or about January 6, 2021, he was and believed he was directed and authorized to

engage in the conduct set forth in the indictment by Donald J. Trump and his agents and

representatives. At the time, Mr. Trump was vested with the full authority of the Executive

Branch as President of the United States of America and was acting under color of that authority.



                                                             Respectfully submitted,

                                                             A.J. KRAMER
                                                             FEDERAL PUBLIC DEFENDER

                                                             ______/s/__________________
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                                                             Celia Goetzl
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